
236 Md. 639 (1964)
204 A.2d 563
RANSOM
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 53, September Term, 1964.]
Court of Appeals of Maryland.
Decided November 16, 1964.
*640 Before HENDERSON, C.J., and HAMMOND, HORNEY, SYBERT and OPPENHEIMER, JJ.
PER CURIAM:
This application for leave to appeal from a denial of post conviction relief contains no statement of reasons, as required by Maryland Rule BK46 b, and must be dismissed on that ground. Cf. Murel v. Director, 231 Md. 661. In any event, we think the opinion of Judge Grady in the court below dealt fully and adequately with all of the contentions raised in his petition.
Application denied.
